B 2100A (Form 2100A) (12/15)


                           UNITED STATES BANKRUPTCY COURT
                         RRR




                                       MAIN DISTRICT OF KANSAS
In re MAUREEN E ENGEN                                                           Case No. 15-20184


                     TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.


Quantum3 Group LLC as agent for                                                 TD BANK USA, N.A.
Name of Transferee                                                              Name of Transferor

Name and Address where notices                                                  Court Claim # (if known): 5
to transferee should be sent:                                                   Amount of Claim:186.94
Quantum3 Group LLC as agent for                                                 Date Claim Filed: 3/5/2015
MOMA Funding LLC
PO Box 788
Kirkland, WA 98083-0788
Phone: (425) 242-7100                                                           Phone:

Last Four Digits of Acct #:1588                                                 Last Four Digits of Acct #: 1588

Name and Address where transferee
payments should be sent (if different from
above):




Phone:
Last Four Digits of Acct #:

I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.


By:/s/ Dhar Sandhu                                                              Date: 6/1/2016
Transferee/Transferee’s Agent



Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.




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